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                                                                              Form 1                                                                               Page: 1

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:          16-02921-3F7 JAF                                                  Trustee: (290790)           GREGORY L. ATWATER
Case Name:            TURNER, ANTHONY TODD                                              Filed (f) or Converted (c): 07/31/16 (f)
                                                                                        §341(a) Meeting Date:       09/08/16
Period Ending:        06/30/18                                                          Claims Bar Date:            12/07/16

                                 1                                   2                         3                           4                  5                    6

                       Asset Description                          Petition/            Estimated Net Value              Property         Sale/Funds          Asset Fully
            (Scheduled And Unscheduled (u) Property)            Unscheduled       (Value Determined By Trustee,        Abandoned         Received by      Administered (FA)/
                                                                   Values            Less Liens, Exemptions,       OA=§554(a) abandon.    the Estate       Gross Value of
Ref. #                                                                                   and Other Costs)                                                 Remaining Assets

 1       REAL PROPERTY                                             228,000.00                           0.00                                       0.00                   FA
          2375 GOLF VIEW DRIVE
         FLEMING ISLAND, FL

 2       2011 ACURA TL                                              14,169.00                           0.00                                       0.00                   FA

 3       2013 HONDA PILOT                                           16,575.00                           0.00                                       0.00                   FA

 4       HOUSEHOLD GOODS                                             1,700.00                           0.00                                       0.00                   FA

 5       MENS CLOTHING                                                   150.00                         0.00                                       0.00                   FA

 6       CASH                                                             20.00                         0.00                                       0.00                   FA

 7       CHECKING                                                    2,950.54                           0.00                                       0.00                   FA

 8       IRA - DEUTSCHE BANK                                         2,980.18                           0.00                                       0.00                   FA

 9       IRA - AUTOROLLOVER (BPAS)                                   3,428.21                           0.00                                       0.00                   FA

10       IRA - AMERIPRISE                                            7,580.15                           0.00                                       0.00                   FA

11       IRA - MASS MUTUAL                                          11,160.43                           0.00                                       0.00                   FA

12       IRA - USAA                                                  4,769.05                           0.00                                       0.00                   FA

13       2016 INCOME TAX REFUND (u)                                        0.00                     3,000.00                                       0.00             3,000.00

13       Assets          Totals (Excluding unknown values)        $293,482.56                      $3,000.00                                      $0.00            $3,000.00


     Major Activities Affecting Case Closing:
             TRUSTEE IS INVESTIGATING POSSIBLE INTEREST IN PAST CORPORATIONS AND TAX REFUND.

             9-8-2016 LETTER MAILED TO EUGENE JOHNSON TO REVIEW FILE.

                                                                                                                                         Printed: 07/24/2018 02:06 PM   V.14.14
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                                                     Individual Estate Property Record and Report
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                                                                     Values          Less Liens, Exemptions,       OA=§554(a) abandon.    the Estate       Gross Value of
Ref. #                                                                                   and Other Costs)                                                 Remaining Assets


            9-21-2016 APPLICATION TO EMPLOY EUGENE H. JOHNSON AS ATTORNEY FOR THE ESTATE FILED.

            9-22-2016 ORDER AUTHORIZING TRUSTEE TO EMPLOY EUGENE H. JOHNSON AS ATTORNEY FOR THE ESTATE ENTERED.

            11-2-2016 2004 EXAMINATION HELD BY ATTORNEY FOR THE ESTATE.

            4-4-2017 ATTORNEY FOR THE ESTATE CONTINUES TO INVESTIGATE ASSETS.

            6-26-2017 ATTORNEY FOR THE ESTATE IS CONTINUING TO WORK WITH DEBTOR'S COUNSEL ON CORPORATE DOCUMENTS AND TAX RECORDS.

            12-5-2017 ATTORNEY FOR THE ESTATE IS CONTINUING TO INVESTIGATE THE DEBTOR'S BUSINESS INTEREST.

            5-16-2018 TRUSTEE AND ATTORNEY FOR THE ESTATE ARE REVIEWING THE POSSIBLE AVENUES FOR RECOVERY OF CORPORATE ASSETS.

    Initial Projected Date Of Final Report (TFR): December 30, 2016                 Current Projected Date Of Final Report (TFR): December 30, 2018




                                                                                                                                         Printed: 07/24/2018 02:06 PM   V.14.14
